     Case 2:18-cr-00014-LGW-BWC Document 634 Filed 02/27/19 Page 1 of 3



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

UNITED STATES OF AMERICA                       )
                                               )
           v.                                  )   CASE NO. CR 218-14
                                               )
CLIFTON FOSTER                                 )

                          MOTION TO TRAVEL OUTSIDE
                     OF THE SOUTHERN DISTRICT OF GEORGIA

       Comes now Clifton Foster (Movant), by and through counsel, and respectfully moves this

Honorable Court to grant him permission to travel outside of the Southern District of Georgia for

the purpose of taking his son, Brandon Foster, to a high school basketball showcase in which he

is participating on March 2, 2019 at Glenforest School in West Columbia, South Carolina and for

the purpose of attending his mother-in-law’s funeral, which is scheduled to begin at 11:00 a.m.

on March 2, 2019 in Winston-Salem, North Carolina. In support of this Motion, the Movant

relies upon all matters that are properly before the Court when this Motion is considered and

further shows the following:

1. The Movant was previously released on a bond that requires him to remain in the Southern

   District of Georgia.

2. The Movant’s son, Brandon Foster, is currently registered to participate in a high school

   basketball showcase that will be held at Glenforest High School, which is located at 1041

   Harbor Drive in West Columbia, South Carolina. Movant’s son is too young to drive himself

   to the showcase, which is scheduled to be held on March 2, 2019 from 11 a.m. until 4 p.m.

   Movant is requesting permission to travel outside of the Southern District of Georgia so he

   can take his son to the showcase.

3. The funeral of Movant’s mother-in-law is also scheduled to begin at 11 a.m. on March 2,
      Case 2:18-cr-00014-LGW-BWC Document 634 Filed 02/27/19 Page 2 of 3



     2019 in Winston-Salem, North Carolina. Movant, is also requesting permission to travel to

     Winston-Salem, North Carolina on March 2, 2019 so he can attend his mother-in-law’s

     funeral and then return to Columbia, South Carolina to pick up his son after the showcase has

     concluded.

4. If Movant is allowed to leave the Southern District of Georgia so he can take his son to the

     basketball showcase and attend his mother-in-law’s funeral, he would leave his residence at 4

     a.m. on March 2, 2019, and he would return to his residence by 7 p.m. on March 3, 2019.

     While he is outside of the Southern District of Georgia, he would be staying overnight from

     March 2, 2019 through March 3, 2019 at the Hampton Inn, which is located at 1094 Chris

     Drive in West Columbia, South Carolina. The telephone number for the Hampton Inn where

     he would stay overnight is (803) 791-8940.

5.

        WHEREFORE, the Movant respectfully requests the Court to grant this Motion and grant

him permission to travel outside of Southern District of Georgia beginning at 4 a.m. on March 2,

2019 and concluding at 7 p.m. on March 3, 2019.



                  Respectfully submitted this 27th day of February, 2019.



                                                       /s/ Keith Higgins
                                                       Keith Higgins
                                                       Attorney for Clifton Foster
                                                       Georgia Bar No. 352077

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     Case 2:18-cr-00014-LGW-BWC Document 634 Filed 02/27/19 Page 3 of 3



                                 CERTIFICATE OF SERVICE


       This is to certify that, in accordance with the directives from the Court, I have this day

served a copy of the foregoing MOTION TO TRAVEL OUTSIDE OF THE SOUTHERN

DISTRICT OF GEORGIA upon all of the parties in this case by a Notice of Electronic Filing,

(“NEF”) that was generated as a result of electronic filing in the case.



                       Respectfully submitted this 27th day of February, 2019.




                                                      /s/ Keith Higgins
                                                      Keith Higgins
                                                      Attorney for Clifton Foster
                                                      Georgia Bar No. 352077

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